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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                   11/10/2020


VOLKSWAGEN GROUP OF AMERICA, INC.,

                                            Plaintiff,                 20-CV-1043 (AT)(SN)

                          -against-                                     DISCOVERY
                                                                     CONFERENCE ORDER
GPB CAPITAL HOLDINGS, LLC,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        A conference to discuss the issues raised by the parties’ letter motion filed November 9,

2020, is scheduled for Tuesday, November 17, 2020, at 3:00 p.m. At that time, the parties shall

call (877) 402-9757 and enter access code 7938632 #. Any issues raised by the parties’ joint

status letter, which is to be filed by November 13, 2020, shall also be discussed.

        The Clerk of Court is respectfully requested to terminate the motions at ECF No. 56 and

ECF No. 63.

SO ORDERED.




DATED:           November 10, 2020
                 New York, New York
